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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


JOAO CONTROL & MONITORING
SYSTEMS, LLC,                                     Case No. 1:14-cv-03862-TCB

                        Plaintiff,

         v.

COMVERGE, INC.,

                        Defendant.




                     ORDER GRANTING
    PLAINTIFF’S MOTION FOR LEAVE FOR DARA T. JEFFRIES TO
                   WITHDRAW AS COUNSEL

   Plaintiff’s Motion for Leave For Dara T. Jeffries To Withdraw As Counsel

(Dkt. No. 38) is GRANTED. The Clerk is respectfully requested to remove Ms.

Jeffries from all service lists including the CM/ECF system.



      SO ORDERED, this 10th day of August, 2015.



                                                _____________________
                                                Timothy C. Batten, Sr.
                                                United States District Judge
